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                                UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF COLUMBIA




FEDERAL TRADE COMMISSION,                       Civil Action No.: 1:20-cv-003590-JEB

                   Plaintiff,

       v.


META PLATFORMS, INC.,

                   Defendant.




                   [PROPOSED] ORDER REGARDING MOTION TO QUASH


Upon consideration of Saral Jain, David Levenson, Jacob Andreou, and Snap Inc.’s Motion to Quash,
it is hereby ORDERED that:

              1.       The document requests within Meta Platforms, Inc.’s trial subpoenas issued to
                       nonparties David Levenson and Saral Jain are quashed; and

              2.       The trial subpoenas issued to nonparties Saral Jain, David Levenson, and Jacob
                       Andreou are quashed in their entirety.




       IT IS SO ORDERED




 Dated: __________________               _______________________________________
                                         Honorable James E. Boasberg
                                         United States District Court Chief Judge




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